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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION


F.M., an individual
Plaintiff
v.                                                             3:19-CV-02901
                                                               Civil Action No.
Best Western International, Inc., et al
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Plaintiff, F.M., an individual




provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.
Best Western International, Inc., Hyatt Hotels Corporation, and Red Lion Hotels Corporation




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.
Plaintiff, F.M., an individual, W. Mark Lanier, Monica Cooper - The Lanier Law Firm, P.C.,
10940 W. Sam Houston Pkwy N., Suite 100, Houston, TX 77064, Best Western International,
Inc., Hyatt Hotels Corporation, and Red Lion Hotels Corporation
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                                                              Date:
                                                                                   December 9, 2019
                                                              Signature:
                                                                                   /s/ W. Mark Lanier
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Documents/Certificate of Interested Persons
